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 8   ATTORNEYS FOR ANDREW J. PRIZLER

 9
                        UNITED STATES DISTRICT COURT FOR THE
10

11                         SOUTHERN DISTRICT OF CALIFORNIA
12
     Andrew J. Prizler, individually and         Case No.: '18CV1724 L   BGS
13
     on behalf of all others similarly
14   situated,                                   CLASS ACTION
15         Plaintiff,                            COMPLAINT FOR
16                                               VIOLATIONS OF:
     CHARTER COMMUNICATIONS, INC.,
17   CHARTER COMMUNICATIONS, LLC (dba
     SPECTRUM), TIME WARNER CABLE
18
     BUSINESS, LLC, TWC ADMINISTRATION,
19   LLC, AT&T, INC., TIME WARNER, INC.,
     And DOES 1 through 100, inclusive
20                                       1. FLSA
21         Defendants.                   2. CA LABOR CODE
                                         3. BUSINESS AND
22                                          PROFESSIONS CODE
                                            SECTION 17200
23
                                         4. Failure to provide meal periods
24                                       5. Failure to provide rest periods
25   _____________________________________/
26

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                                               1
                                           COMPLAINT
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 1
                                     INTRODUCTION
 2
           1.      Comes the representative Plaintiff, ANDREW J. PRIZLER and files
 3
     this lawsuit against Defendants CHARTER COMMUNICATIONS, INC.,
 4
     CHARTER COMMUNICATIONS, LLC (dba SPECTRUM), TIME WARNER
 5
     CABLE BUSINESS, LLC, TWC ADMINISTRATION, LLC, AT&T, INC.,
 6   TIME WARNER, INC., (hereafter, collectively referred to as “Time Warner”
 7   and/or “Defendants”) for himself and all other similarly situated individuals, for
 8   legal relief to redress unlawful violations of Plaintiff’ rights under the Fair Labor
 9   Standards Act of 1938 (“FLSA” or “the Act”), 29 U.S.C. §§ 201, et seq., and
10   specifically the collective action provision of the FLSA by Time Warner which
11   have deprived the named Plaintiff, as well as others similarly situated to the named
12   Plaintiff, of their lawful wages. The suit is brought on behalf of the named
13   Plaintiff and all others similarly situated, pursuant to both California law and
14   §216(b) of the FLSA.
15                            JURISDICTION AND VENUE
16         2.      Jurisdiction over Plaintiff’s federal claims is based upon: (a) Section
17   16(b) of the FLSA, 29 U.S.C. § 216(b), which authorized employees to bring civil
18   actions in courts of appropriate jurisdiction to recover damages for an employers’
19   failure to pay overtime wages as required by the FLSA; and (b) 29 U.S.C. §§1331
20   and 1337.
21         3.      Venue in this district is proper pursuant to 28 U.S.C. § 1391(b). At
22   all times material herein, Defendants have been been actively conducting business
23   in the State of California and within the geographic area encompassing the
24   Southern District of the State of California.      Plaintiff performed services for
25   Defendants in various parts of California, including in the Southern District of
26   California.
27         4.      Jurisdiction over Plaintiff’s state law class action claims under the
28   California Labor Code and the claim under §17200 of the California Business and
                                              2
                                          COMPLAINT
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 1
     Professions Code are based upon this Court’s supplemental jurisdiction under 28
 2
     U.S.C. § 1367(a), because the state law claims are so related to Plaintiff’ federal
 3
     claims that they form a part of the same case or controversy between Plaintiff and
 4
     Defendants.
 5
           5.      Plaintiff was an employee for – and employed by -- the Defendants,
 6   and brings this action as a collective action in accordance with 29 U.S.C. §216(b)
 7   of the FLSA against the Defendants on behalf of himself and all others similarly
 8   situated because of Defendants’ unlawful deprivation of Plaintiff’s rights to all
 9   wages owed. Plaintiff seeks a declaratory judgment under 28 U.S.C. § 2201 and
10   compensation, damages, equitable and other relief available under the FLSA, as
11   amended 29 U.S.C. § 201 et seq. Plaintiff also seeks relief on a collective and
12   class-wide basis challenging the unlawful business practice engaged in by
13   Defendants of failing to compensate Plaintiff and all others similarly situated for
14   all wages owed.
15         6.      Defendants conduct business throughout the country, including in the
16   State of California.
17         7.      The similarly situated individuals include non-exempt employees
18   who performed retail sales work as employees of Defendants, worked overtime
19   and earned commission and/or bonus pay (“Time Warner Employees”). Time
20   Warner Employees are not compensated by Defendants for all hours they worked,
21   including, but not limited to proper overtime.
22         8.      The FLSA claim is brought under Section 16(b) of the FLSA, 29
23   U.S.C. § 216(b), as a nation-wide “opt-in” collective action (hereinafter “the
24   FLSA Action”).         The FLSA Action is brought on behalf of Time Warner
25   Employees who worked during the period three years prior to the date that this
26   lawsuit was filed through the date of judgment (hereinafter “the FLSA
27   Employees”). The FLSA Action seeks to (i) recover unpaid wages and overtime
28   compensation owed to the FLSA Employees, (ii) obtain an equal amount in
                                             3
                                         COMPLAINT
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 1
     liquidated damages, as provided by Section 16(b) of the FLSA, and (iii) recover
 2
     reasonable attorneys’ fees and costs of the action, as provided for by Section 16(b)
 3
     of the FLSA.
 4
           9.     Plaintiff also asserts various claims under California law as a
 5
     conventional “opt-out” class action under Rule 23 of the Federal Rules of Civil
 6
     Procedure (“the California Class”). The California Class Action is brought on
 7
     behalf of Time Warner Employees who worked for Time Warner in the State of
 8
     California at any time during the period four years prior to the date that this
 9
     lawsuit was filed, plus tolling for the LWDA exhaustion, and through the date of
10
     judgment (“California class”). The California class has claims based upon the
11
     same unlawful business practice of not being paid their wages and/or
12
     compensation for all hours worked as required under the applicable federal law,
13
     California law including the Labor Code, UCL, and Wage Orders. The California
14
     class also has claims based upon the illegal and unlawful business practices of
15
     failing to pay the California class premium wages owed for overtime hours
16
     worked based on the legally required “regular rate” including any commission
17
     and/or bonus wage compensation, and failing to provide meal periods and/or
18
     meal period payments as required by law. Plaintiff is informed and believes, and
19
     based thereon alleges, that Time Warner knew or should have known that
20
     Plaintiff and the California class were entitled to receive premium wages for
21
     overtime compensation based on a regular rate that includes commission and/or
22
     bonus wages and that neither Plaintiff nor the California class were receiving all
23
     minimum wages due and owing under the law for overtime hours worked, and
24
     failing to both provide meal periods and/or meal period pay and timely pay the
25
     California class all wages owed upon discharge or resignation. Plaintiff and the
26
     other California class members did not receive payment of all wages, including
27
     overtime and minimum wages and meal period payments, within any time
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                                         COMPLAINT
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 1
     permissible under California Labor Code section 204, and c) failing to provide
 2
     Plaintiff and the California class with complete and accurate payroll/wage
 3
     statements and/or reports in accordance with California law. During the liability
 4
     period, Plaintiff and other similarly situated employees received commissions and
 5
     nondiscretionary bonuses as well as an hourly rate. There is a systemic
 6
     miscalculation of the overtime rate for compensation, which is predicated on
 7
     Plaintiff   and   all   similarly   situated   employees’   hourly     rate   and
 8
     commissions/bonuses.    On information and belief, Plaintiff and all similarly
 9
     situated employees assert that Defendants failed to properly incorporate these
10
     commission and bonus payments into the regular rate of pay when calculating
11
     overtime compensation. This miscalculation in failing to properly incorporate
12
     these commission and bonus payments into the regular rate of pay when
13
     calculating overtime, directly led to Defendants undercompensating Plaintiff and
14
     all other similarly situated employees for overtime hours worked.    Additionally,
15
     on information and belief, these commissions and bonuses were not always paid to
16
     Plaintiff and other similarly situated employees when earned or when due, thereby
17
     making Defendants liable for failing to timely pay commissions and bonuses (or at
18
     times at all) and to properly incorporate these commission and bonus payments
19
     into the regular rate of pay when calculating overtime compensation. This failure
20
     to properly pay commissions and bonuses also led directly to Defendants
21
     undercompensating Plaintiff and other similarly situated employees for overtime
22
     hours worked. Defendant’s failure to pay Plaintiff and other similarly situated
23
     employees the unpaid balance of premium overtime compensation violates the
24
     provisions of California Labor Code sections 510 and 1194, as well as IWC wage
25
     order 4-2001 and the Federal Labor Standards Act (“FLSA”), which serves a
26
     predicate violation of California Business and Professions Code section 17200, et
27
     seq.
28

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                                         COMPLAINT
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 1
           10.     The California class seeks to (i) recover daily and weekly unpaid
 2
     compensation owed to the California class, (ii) waiting time penalties under
 3
     Section 203 of the California Labor Code owed to those members of the sub-class
 4
     whose employment with Time Warner terminated and who have not been timely
 5
     paid all wages due to them upon termination of their employment, (iii) damages
 6   and meal period payments as set forth under the California Labor Code, and (iv)
 7   recover reasonable attorneys’ fees and costs as provided for by the California
 8   Labor Code.
 9         11.     Finally, the claim under Section 17200 of the California Business and
10   Professions Code seeks equitable and injunctive relief enjoining Defendants from
11   the allegedly illegal conduct and for failing to make, keep and preserve the records
12   required by the FLSA and California law. This claim also seeks to obtain (i)
13   restitution as allowed by the UCL, and (ii) reasonable attorneys’ fees and costs as
14   provided for by law.
15         12.     The FLSA Action is maintained as a collective action under 29
16   U.S.C. § 216(b) on behalf of all past, present and future nonexempt employees of
17   Defendants who have been, are and/or will be employed at retail store locations
18   and who worked the first shift of any day in the United States during the period
19   three years prior to the date that this lawsuit was filed through the date of
20   judgment. Plaintiff is a citizen of the United States, and resides in the State of
21   California. At all times material herein, the named Plaintiff has been employed by
22   Defendants, in a position where he was engaged in retail sales for Defendants.
23   Plaintiff is identified in the caption of the Complaint and has given his written
24   consent to be party Plaintiff in this action pursuant to 29 U.S.C. § 216(b).
25

26                                     THE PARTIES
27         13.     Plaintiff is a citizen of the United States residing in the State of
28   California.   Plaintiff is a former employee of Time Warner, who conducted
                                              6
                                          COMPLAINT
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 1
     business for Time Warner in the State of California, including within the
 2
     geographic area encompassed by the Southern District, from approximately July
 3
     2014 to early 2018. He was a non-exempt employee of Time Warner, he worked
 4
     overtime and he earned bonus and commission wages. During his employment
 5
     with Time Warner, like other Time Warner Employees, Plaintiff regularly worked
 6   in excess of eight (8) hours in a workday and/or in excess of forty (40) hours in a
 7   workweek. Plaintiff has not been paid all wages owed for all hours worked as
 8   required under the FLSA and California law. Plaintiff has been injured by the
 9   illegal practices and conduct alleged in this complaint. Plaintiff’ claims under the
10   FLSA and/or California law are similar to and typical of the claims of the FLSA
11   Employees and the members of the California class.
12         14.    On information and belief, Defendants are qualified to and do
13   business in the State of California.
14         15.    Defendants jointly maintain either actual or constructive control,
15   oversight, or direction over the operations of and its employment practices
16   applicable to Plaintiff and the alleged class.
17         16.    Defendants are subject to personal jurisdiction in the State of
18   California for purposes of this lawsuit.
19         17.    At all times material to this action Defendants have been an
20   “employer” of the named Plaintiff, as defined by §203(d) of the FLSA.
21

22                          CLASS ACTION ALLEGATIONS
23         18. The California class may be appropriately maintained as a class action
24   under Rule 23 because all of the prerequisites set forth under Rule 23 are met.
25         19.    Members of the California class are so numerous that joinder of all
26   such members is impracticable. Although the exact size of the California class is
27   unknown, it is believed and alleged that the number of persons in the California
28

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                                            COMPLAINT
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 1
     class is more than 50. The number of current and former individuals in the
 2
     California class is so numerous that joinder is impracticable if not impossible.
 3
           20.    There are questions of law and fact common to the California class
 4
     with respect to the liability issues, relief issues and anticipated affirmative defenses.
 5
     For example, predominate common questions of fact and law include the propriety of
 6   Defendant’s systemic premium overtime calculations for weeks where commission
 7   and/or bonus is earned; whether all wages were timely paid to employees upon
 8   termination of employment; and whether the information provided to employees is
 9   compliant with the requirements of Labor Code 226. (Fed.R.Civ.P. 23(b)(3)).
10         21. The prosecution of separate actions by the California class would
11   create a risk of inconsistent or varying adjudications with respect to individual
12   members of the California class that would establish incompatible standards of
13   conduct for parties opposing the class. (Fed.R.Civ.P. 23(b)(1)(A).)
14         22. Plaintiff will fairly and adequately protect the interests of the
15   California class because he and his counsel possess the requisite resources and
16   abilities to prosecute this case as a class action.
17         23. The prosecution of separate actions by the California class would
18   create a risk of adjudications with respect to individual members of the class
19   that would, as a practical matter, be dispositive of the interests of the other members
20   not parties to the adjudications or substantially impair or impede their ability to
21   protect their interests. (Fed.R.Civ.P. 23(b)(1)(B).)
22         24.    The questions of law and fact common to the California class
23   predominate over any questions affecting only individual class members, and a
24   class action is superior to other available methods for the fair and efficient
25   adjudication of the controversy. (Fed.R.Civ.P. 23(b)(3).) More specifically,
26           a.           Members of the California class have little or no interest in
27        individually controlling the prosecution of separate actions. (Fed.R.Civ.P.
28        23(b)(3)(A).)
                                               8
                                           COMPLAINT
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 1
               b.         Plaintiff is not aware of any other litigation concerning the
 2
          controversy already commenced by the California class. (Fed.R.Civ.P.
 3
          23(b)(3)(B).)
 4
               c.         It is desirable to concentrate the litigation of the claims in this
 5
          Court because Time Warner does a substantial amount of business in this
 6        district;
 7             d.         This action is manageable as a class action because, compared
 8        to any other method such as individual interventions or the consolidation of
 9        individual actions, a class action is more fair and efficient. (Fed.R.Civ.P. 23
10        (b)(3)(D).)
11            25. Plaintiff contemplates providing a notice or notices to the California
12   class, as approved by the Court, to be delivered through the United States mail or
13   other appropriate notice process. The notice or notices shall, among other things,
14   advise the California class that they shall be entitled to “opt out” of the class
15   certified for the California Action if they so request by a date specified within the
16   notice, and that any judgment on the California Action, whether favorable or not,
17   entered in this case will bind all class members except those who affirmatively
18   exclude themselves by timely opting out.

19
              26. Plaintiff also contemplates providing a notice or notices to all of the
     FLSA Employees, as approved by the Court, to be delivered through the United
20
     States mail or other appropriate notice process. The notice or notices shall, among
21
     other things, advise each of the FLSA Employees that they shall be entitled to “opt
22
     into” the FLSA Action if they so request by the date specified within the notice,
23
     and that any judgment on the FLSA Action, whether favorable or not, entered in
24
     this case will bind all FLSA call members who timely request inclusion in the
25
     class.
26
                      FIRST CLAIM FOR RELIEF FOR VIOLATION
27
                    OF THE FAIR LABOR STANDARDS ACTION OF 1938
28

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                                            COMPLAINT
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 1
                  (On Behalf of the FLSA Employees As Against Defendant)
 2          27.     Plaintiff re-asserts and re-alleges the allegations set forth in
 3    Paragraphs 1 through 26, above except those paragraphs that are inconsistent with
 4    this cause of action brought pursuant to the FLSA.
 5          28.     The FLSA regulates, among other things, the payment of overtime
 6    pay by employers. 29 U.S.C. § 207(a)(1).
 7          29.     Section 7(a)(1) of the FLSA, 29 U.S.C. § 207(a)(1), requires
 8    employers to pay non-exempt employees for all hours worked and for those who
 9    work longer than forty (40) hours in a workweek one and one-half times the
10    employee’s regular rate of pay for the hours worked in the workweek in excess of

11
      forty (40) hours. Time Warner is, and was, subject to this requirement to pay Time
      Warner Employees both for all hours worked and one and one-half times the
12
      employees’ regular rate of pay for all hours worked in a workweek in excess of
13
      forty (40) hours. The FLSA requires that commissions and bonus pay earned by
14
      Time Warner Employees be evaluated in determining/calculating the regular rate
15
      of pay and overtime rate of pay. Defendants violated the FLSA by failing to pay
16
      Time Warner Employees the correct overtime wages owed for all hours worked.
17
            30. The persons employed by Defendants as Time Warner Employees in
18
      the United States regularly, and as a matter of policy and practice, worked and do
19
      work hours in which they are not paid overtime according the law. Specifically,
20    Time Warner’s company-wide policy does not pay its Time Warner Employees
21    overtime using the correct calculation methodology for the hours worked
22    overtime. Time Warner Employees frequently work in excess of forty (40) hours
23    in a workweek, but Defendants do not pay Time Warner Employees for overtime
24    wages based on the correct regular and/or overtime rate. As a result, Defendants
25    have deprived Plaintiff and the other Time Warner Employees of wages earned by
26    not paying the Time Warner Employees for all hours worked and not paying them
27    premium wages owed for overtime hours worked which is based on the
28    commissions and bonuses earned during a particular pay period.

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                                         COMPLAINT
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 1
            31.    Time Warner’s violations of the FLSA as alleged herein have been
 2    done in a willful and bad faith manner such that the FLSA Employees are entitled
 3    to damages equal to the amount of overtime premium pay within the three years
 4    preceding the filing of this complaint, plus periods of equitable tolling. As a result
 5    of the aforesaid willful violations of the FLSA, overtime compensation has been
 6    unlawfully withheld by Defendants from Plaintiff and similarly situated persons
 7    for which the Defendants are liable pursuant to 29 U.S.C. § 216(b), together with
 8    an additional equal amount as liquidated damages, as well as interest, reasonable
 9    attorneys’ fees and costs.
10          32.    The employment and work records for the Plaintiff are in the

11
      exclusive possession, custody and control of Defendants and Plaintiff are unable to
      state at this time the exact amount owing to each of them. Defendants are under a
12
      duty imposed by 29 U.S.C. § 211 and the regulations of the U.S. Department of
13
      Labor to maintain and preserve Plaintiff’s payroll and other employment records
14
      from which the amounts of the Defendants’ liability can be ascertained.
15

16
                  SECOND CLAIM FOR RELIEF FOR VIOLATIONS
17
                                   OF CALIFORNIA LAW
18
                          (On Behalf of the California Class Only)
19
            33.    Plaintiff reasserts and re-alleges the allegations set forth in
20    Paragraphs 1 through 32 above, excepting those paragraphs that are inconsistent
21    with this cause of action brought pursuant to California law.
22          34.    Time Warner Employees are subject to – and entitled to the
23    protection of -- the terms and conditions of the California Labor Code and
24    California Wage Orders, found in the California Code of Regulations, at Title 8,
25    Section 11000, et seq., as amended.
26          35.    The California class regularly, and as a matter of policy and practice,
27    worked and do work hours in excess of forty (40) hours in a workweek, and/or in
28    excess of eight (8) hours in a day entitling them to payment of daily and weekly

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                                            COMPLAINT
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 1
      overtime pay under California Wage Orders and the California Labor Code.
 2    Defendant has failed to pay these persons all wages owed for all hours worked
 3    including correctly calculated premium overtime pay to which they are entitled,
 4    thereby violating California law. This is in violation of California Labor Code
 5    sections 1194, 1198 and 510 and the Industrial Welfare Commission (“IWC”)
 6    Wage Order applicable to Defendants’ business. Also during the relevant time
 7    period, Time Warner intentionally and willfully failed to pay the minimum
 8    statutory overtime wages owed to Plaintiff and the other California class members
 9    due to a miscalculation of the “overtime rate” by not including commissions
10    and/or bonuses earned during a particular pay period, which should be calculated

11
      in order to determine the regular rate. Plaintiff and the other California class
      members are entitled to recover the unpaid balance of their minimum wages owed
12
      and/or overtime wages as well as interest, costs, and attorney’s fees.
13
            36.    Time Warner does not comply with the requirements of Labor Code
14
      Section 226 which requires that “every employer shall, semimonthly or at the time
15
      of each payment of wages, furnish each of his or her employees, either as a
16
      detachable part of the check, draft, or voucher paying the employee's wages, or
17
      separately when wages are paid by personal check or cash, an accurate itemized
18
      statement in writing showing:
19
            (1) gross wages earned,
20

21          (2) total hours worked by the employee, except for any employee whose
      compensation is solely based on a salary and who is exempt from payment of
22    overtime under subdivision (a) of Section 515 or any applicable order of the
23    Industrial Welfare Commission,
24         (3) the number of piece-rate units earned and any applicable piece rate if the
25    employee is paid on a piece-rate basis,
26          (4) all deductions, provided that all deductions made on written orders of
27    the employee may be aggregated and shown as one item,

28

                                             12
                                          COMPLAINT
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 1          (5) net wages earned,
 2
            (6) the inclusive dates of the period for which the employee is paid,
 3
             (7) the name of the employee (and the last four digits of his or her social
 4    security number or an employee identification number other than a social security
 5    number may be shown on the itemized statement),
 6          (8) the name and address of the legal entity that is the employer, and
 7
            (9) all applicable hourly rates in effect during the pay period and the
 8    corresponding number of hours worked at each hourly rate by the employee.
 9
      Time Warner fails to provide accurate and complete information, as specified in
10
      items 1, 2, 5 and 9 above as set forth in section 226(a).
11
            37.    California Labor Code Section 226(e) provides:          "An employee
12
      suffering injury as a result of a knowing and intentional failure by an employer to
13
      comply with subdivision (a) shall be entitled to recover the greater of all actual
14
      damages or fifty dollars ($50) for the initial pay period in which a violation occurs
15
      and one hundred dollars ($100) per employee for each violation in a subsequent
16
      pay period, not exceeding an aggregate penalty of four thousand dollars ($4,000),
17
      and shall be entitled to an award of costs and reasonable attorney's fees." Plaintiff
18
      and the California class members suffered injuries as defined and set forth in
19
      California Labor Code Section 226(e) because, in addition to Time Warner’s
20
      failure to provide accurate and complete information, as specified in items 1, 2, 5
21
      and 9 above as set forth in section 226(a), Plaintiff and the California class could
22
      not “promptly and easily determine” from the wage statement alone the correct
23
      hourly rate in effect during the pay period (i.e., without reference to other
24
      documents or information), nor was the overtime rate or the hours worked
25
      provided in the statements accurate.
26
            38.    During the class period, Time Warner failed to provide Plaintiff and
27
      the California class members with timely and accurate wage and hour statements
28

                                                13
                                             COMPLAINT
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 1
      showing gross wages earned, net wages earned, overtime pay, and all applicable
 2
      hourly rates in effect during each pay period with the corresponding number of
 3
      hours worked at each hourly rate by that individual.
 4
             39.   As alleged herein, Plaintiff and the California class members are/were
 5
      not exempt from the requirements of California’s labor laws and regulations.
 6    Plaintiff and the California class members were and will be injured by Time
 7    Warner’s failure to comply with the aforementioned requirements for time records
 8    and wage statements.
 9           40.   Based on Time Warner’s conduct as alleged herein, Defendants are
10    liable to Plaintiff and the California class members for damages for each labor
11    code violation, injunctive relief, plus interest, attorneys’ fees, expenses, and costs
12    of suit.
13           41.   The California class is entitled to receive the unpaid wages due them
14    under California law. In addition, the California class is entitled to recover interest
15    on the amount of unpaid wage pay due them and reasonable attorneys’ fees and
16    costs of suit, pursuant to Section 1194(a) of the California Labor Code. In
17    addition, Section 203 of the California Labor Code provides for the payment of
18    “waiting time penalties” if an employer does not properly pay all wages due an
19    employee upon termination of the employee’s employment. Those in the
20    California class whose employment has been terminated have not been properly
21    paid the wages that are due them upon termination of their employment.
22    Accordingly, these class members are entitled to recover “waiting time penalties”
23    under Section 203 of the California Labor Code.
24

25       THIRD CLAIM FOR RELIEF FOR VIOLATION OF BUSINESS AND
26                        PROFESSIONS CODE SECTION 17200
27                        (On Behalf of the California Class Only)
28

                                              14
                                           COMPLAINT
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 1
            42.    Plaintiff reasserts and re-alleges the allegations set forth in
 2    Paragraphs 1 through 41, above excepting those paragraphs which are inconsistent
 3    with this cause of action for violations of the California Business and Professions
 4    Code § 17200.
 5          43.    Section 17200 of the California Business and Professions Code
 6    prohibits any unlawful, unfair or fraudulent business act or practice.
 7          44.    Defendants have engaged in, and continue to engage in the unlawful,
 8    unfair and fraudulent business practices alleged hereinabove in violation of
 9    Section 17200 of the California Business and Professions Code.
10          45.    These challenged policies and practices have harmed the named

11
      Plaintiff, the members of the California class and the general public.
            46.    As a result of these unlawful policies and practices, Plaintiff is
12
      entitled to an injunction issue against Defendants, pursuant to Section 17203 of the
13
      California Business and Professions Code, to prevent them from engaging in such
14
      future unlawful, unfair and fraudulent business practices. Plaintiff also is entitled
15
      to an order requiring Defendants to provide restitution to all persons who have
16
      suffered losses or injury as a result of these unlawful business practices, including
17
      but not limited to all California class members, during the applicable limitations
18
      period.
19
            47.    Plaintiff is entitled to an award of reasonable attorneys’ fees pursuant
20    to California law.
21                           FOURTH CLAIM FOR RELIEF
22
                       FAILURE TO PROVIDE MEAL PERIODS
                        (California Labor Code §§ 226.7 and 512)
23          48.    Representative Plaintiff incorporates in this cause of action each and
24    every allegation of the preceding paragraphs, with the same force and effect as
25    though fully set forth herein and asserts this cause of action on his own behalf and
26    on behalf of the California Class.
27          49.    At all relevant times, Defendants were aware of and were under a
28    duty to comply with California Labor Code § 226.7 and § 512.

                                              15
                                           COMPLAINT
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 1
            50.   California Labor Code § 226.7 provides:
 2     
            (a) As used in this section, “recovery period” means a cooldown period
 3          afforded an employee to prevent heat illness.
 4          (b) An employer shall not require an employee to work during a meal or rest
 5
            or recovery period mandated pursuant to an applicable statute, or applicable
            regulation, standard, or order of the Industrial Welfare Commission, the
 6          Occupational Safety and Health Standards Board, or the Division of
 7          Occupational Safety and Health.
            (c) If an employer fails to provide an employee a meal or rest or recovery
 8
            period in accordance with a state law, including, but not limited to, an
 9          applicable statute or applicable regulation, standard, or order of the
            Industrial Welfare Commission, the Occupational Safety and Health
10
            Standards Board, or the Division of Occupational Safety and Health, the
11          employer shall pay the employee one additional hour of pay at the
            employee’s regular rate of compensation for each workday that the meal or
12
            rest or recovery period is not provided.
13
            51.    Moreover, California Labor Code § 512(a) provides:
14
      An employer may not employ an employee for a work period of more than five
15    hours per day without providing the employee with a meal period of not less than
      30 minutes, except that if the total work period per day of the employee is no more
16    than six hours, the meal period may be waived by mutual consent of both the
      employer and employee. An employer may not employ an employee for a work
17    period of more than 10 hours per day without providing the employee with a
      second meal period of not less than 30 minutes, except that if the total hours
18
      worked is no more than 12 hours, the second meal period may be waived by
      mutual consent of the employer and the employee only if the first meal period was
      not waived.
19
            52. Sections 11 of the applicable IWC Wage Order mandate that
20
      employers provide all applicable meal periods to non-exempt employees.
21
            53.   Section 11 of the applicable IWC Wage Order provides:
22     
                  (A) No employer shall employ any person for a work period of more
23                    than five (5) hours without a meal period of not less than 30
                      minutes...
24
                  (B) An employer may not employ an employee for a work period of
25                    more than ten (10) hours per day without providing the employee
                      with a second meal period of not less than 30 minutes…
26                (C) If an employer fails to provide an employee a meal period in
                      accordance with the applicable provisions of this order, the
27                    employer shall pay the employee one (1) hour of pay at the
                      employee’s regular rate of compensation for each workday that
28                    the meal period is not provided.
                                            16
                                         COMPLAINT
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 1
              54.   Defendants failed to provide Plaintiff and the California class with
 2    uninterrupted and off duty meal periods and/or one hour meal period premium
 3    payments as required by law. By failing to consistently provide uninterrupted and
 4    off duty thirty-minute meal periods within the first five hours of work each day
 5    and/or uninterrupted net ten-minute rest periods to Plaintiff and the Class
 6    Members – and failing to pay one hour of pay in such instances -- Defendants
 7    violated the California Labor Code and applicable IWC Wage Order provisions.
 8    Further, as a result of the violations of the California Labor Code and IWC Wage
 9    Order regulations, Defendants conduct was “unlawful” within the meaning of the
10    UCL (B & P 17200, et seq.

11
              55.   Plaintiff is informed and believes and, on that basis, alleges that
      Defendants failed to provide meal periods and failed to pay the one hour of
12
      compensation owed to Plaintiff and California Class members as a result of
13
      Defendant’s violations of the California Labor Code and applicable IWC Wage
14
      Order provisions.
15
              56.   As a direct and proximate result of Defendants’ unlawful conduct, as
16
      set forth herein, Plaintiff and Class Members have sustained damages, including
17
      lost compensation and an entitlement to restitution resulting from missed meal
18
      periods, in an amount to be established at trial.
19
              57.   As a further direct and proximate result of Defendants’ unlawful
20    conduct, as set forth herein, certain Class Members are entitled to recover “waiting
21    time” and other penalties, in amounts to be established at trial, as well as recovery
22    of attorneys’ fees and costs, pursuant to statute.
23

24                                 PRAYER FOR RELIEF
25    WHEREFORE, Plaintiff prays for judgment as follows:
26       1.         Enter a declaratory judgment declaring that the Defendants have
27                  willfully and wrongfully violated their statutory and legal obligations
28                  and deprived Plaintiff and all other who are similarly situated of their

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                                           COMPLAINT
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 1
                 rights,   privileges,   protections,    compensation,     benefits   and
 2               entitlements under the law, as alleged herein;
 3       2.      Order a complete and accurate accounting of all the compensation,
 4               wages, restitution and meal period payments to which the Plaintiff
 5               and all others who are similarly situated are entitled;
 6       3.      For compensatory damages against Defendants to be paid to the
 7               FLSA Employees, including all wages and overtime pay owed to the
 8               FLSA Employees under the FLSA;
 9       4.      For liquidated damages against Defendants to be paid to the FLSA
10               Employees under Section 16(b) of the FLSA;

11
         5.      For compensatory damages against Defendants to be paid to the
                 California class, including all wages and overtime pay, and statutory
12
                 damages for violation of California Labor Code Section 226 owed to
13
                 the California class under California law;
14
         6.      For “waiting time penalties,” pursuant to Section 203 of the
15
                 California Labor Code, against Defendants to be paid to members of
16
                 the California class whose employment has terminated with
17
                 Defendants and who were not timely paid all wages due and owing to
18
                 them at the time of such termination;
19
         7.      For attorneys’ fees and costs as allowed by Section 16(b) of the
20               FLSA, Section 1194 of the California Labor Code, and Section
21               1021.5 of the California Code of Civil Procedure;
22       8.      For an order requiring Defendants to pay restitution for its unlawful
23               conduct in the State of California; and
24       9.      For injunctive relief including, but not limited to, an Order enjoining
25               Defendants from continuing to engage in the State of California in the
26               unlawful business practices alleged herein; and
27       10.     Grant such other legal and equitable relief as may be just and proper.
28

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                                         COMPLAINT
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 1
                                    JURY DEMAND
 2                        Plaintiff hereby demands a jury trial.
 3

 4    DATED: July 27, 2018                       RIGHETTI · GLUGOSKI, P.C.
 5
                                                 __/s/ Matthew Righetti___________
 6                                               Matthew Righetti,
 7                                               Attorney for Plaintiff
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